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                      IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                  GALVESTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §   CRIMINAL NO. G-99-10 (13)
                                               §   CIVIL ACTION NO. G-03-078
DEMETRIOUS SANDFORD                            §

                                  OPINION AND ORDER

       On October 18, 2005, the United States Court of Appeals for the Fifth Circuit issued, as

a mandate, its Judgment which vacated everything that occurred in this case following the filing

of the Section 2255 Motion by Demetrious Sanford on January 30, 2003. Since the time for

seeking a Rehearing has passed, the District Court must address the merits of Sanford’s § 2255

Motion.

       On November 15, 2005, Sanford filed a Motion seeking appointment of counsel and

permission to amend his § 2255 Motion. The instant Motion will be denied in part and granted

in part.

       Attorney Richard E. Banks was representing Sandford during his most recent appeal;

however, the effect of the Judgment of the Court of Appeals was to vacate that appointment.

Since Sandford is now, once again, pursuing collateral relief, he has no constitutional right to

be represented by counsel.      United States v. Vasquez, 7 f.3d 81, 83 (5th Cir. 1993)

Furthermore, this Court, through experience, is convinced that Sandford possesses sufficient

skill and intelligence to represent himself through the preliminary stages of the prosecution of

his motion. Therefore, unless or until the Court determines that an Evidentiary Hearing will be

necessary or that this case has become unduly complex, Sandford’s request for appointment of

counsel (Instrument no. 703) is DENIED.
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       Sandford’s motion to amend his § 2255 motion (Instrument no. 703) will be GRANTED

as herein modified. Sandford SHALL have until December 30, 2005 , to supplement his

pending § 2255 Motion by submitting his briefing in support of his two new claims: (1) any

alleged Rule 11 violations and (2) the failure of the District Court to expressly accept his guilty

plea. By granting Sandford’s modified motion to amend, the Court is expressing absolutely no

opinion regarding the merits of any of Sandford’s claims, the timeliness of Sandford’s original

§ 2255 motion, or whether his supplemental claims relate back to his original motion for

purposes of the one-year limitations period. Mayle v. Felix,        U.S.       , 162 L.Ed 2d 582,

590 (2005)

       DONE at Galveston, Texas, this               22nd           day of November, 2005.




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